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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                            Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



     DECLARATION OF JEFFREY M. GOULD IN SUPPORT OF PLAINTIFFS’ MOTION
        TO STRIKE PORTIONS OF THE DECLARATION OF THOMAS KEARNEY

            I, Jeffrey M. Gould, hereby declare:

            1.         I am Senior Counsel Oppenheim + Zebrak, LLP, and am admitted to practice law

     in the District of Columbia, among other jurisdictions. I am counsel for Plaintiffs in the above-

     captioned case. I have personal knowledge of all facts stated in this declaration, and if called upon

     as a witness, I could and would competently testify thereto.

            2.         I submit this declaration in support of Plaintiffs’ Motion to Strike Portions of the

     Declaration of Thomas Kearney filed contemporaneously herewith.

            3.         Attached hereto as Exhibit 1 is a true and correct copy of relevant excerpts from

     the May 6, 2019 deposition transcript of Vance Ikezoye, Audible Magic’s 30(b)(6) corporate

     designee.   The Audible Magic Spreadsheet (REV00003444) was not identified during any

     questions or answers during Mr. Ikezoye’s deposition, and it was not entered as an exhibit. Cox

     did not authenticate the Audible Magic Spreadsheet during that deposition.

            4.         Audible Magic produced nearly            documents on April 26 and May 1, 2019,

     collectively.
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          5.    Attached hereto as Exhibit 2 is a true and correct copy of a screenshot of a keyword

  search of the Copyright Office Catalog for the keywords “rowland motivation.” The work with

  title “Motivation” and Copyright Number SR0000677261 is the first hit.

          6.    Attached hereto as Exhibit 3 is a true and correct copy of a printout from the

  Copyright Office Catalog for the registration of the sound recording of the song “Motivation” by

  the artist Kelly Rowland with registration number SR0000677261, registered on May 9, 2011.

          7.    Attached hereto as Exhibit 4 is a true and correct copy of the copyright registration

  certificate for the sound recording of the song “Motivation” by the artist Kelly Rowland with

  registration number SR 677-261, registered on May 9, 2011, that Plaintiffs produced in this case

  under Bates No. UMG_00000005.

          8.    I have reviewed the spreadsheet MarkMonitor produced with Bates No.

  MM000236 (the “236 Spreadsheet”) to check whether the chart in Paragraph 44 of the Kearney

  Declaration is correct. I found numerous errors or misrepresentations in Mr. Kearney’s testimony.

  I filtered                                                                                     the

  following:

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